Case 9:20-mj-08070-BER Document 1 Entered on FLSD Docket 02/14/2020 Page 1 of 11

AO 91 (Rev. 08/09) Criminal Complaint . . FILED BY UA _ D.C.

 

 

UNITED STATES DISTRICT CGURT FEB 14 2020

for the
ANGELA E. NOBLE

ar . CLERK U.S. DIST. CT.
Southern District of Florida S.D. OF FLA.-WPB.

 

 

 

 

United States of America )
Vv. ) ‘
lan Akim Felder ) Case No. 20-8070-BER

)

)

)

Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of See Attached Affidavit in the county of _Palm Beach and elsewhere _ in the
Southern District of Florida , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 1029(a)(2) Access Device Fraud
18 U.S.C. § 1344 Bank Fraud
18 U.S.C. § 1028A Aggravated Identity Theft
\

This criminal complaint is based on these facts:

See Attached Affidavit

& Continued on the attached sheet.

 

( ) é¢inplainant ’s signature

Sarah Schaut, Task Force Office (USSS)

Printed name and title

Sworn to before me and signed in my presence.

 

 

Date: Yo [20 ,

City and state: West Palm Beach, Florida Bruce E. Reinhart, U.S. Magistrate
Printed name and title

   

“Tudge ’s signature
Case 9:20-mj-08070-BER Document 1 Entered on FLSD Docket 02/14/2020 Page 2 of 11

AFFIDAVIT
I, Sarah Schaut, being first duly sworn, hereby depose and state as follows:
INTRODUCTION

1. I am employed with the Plantation Police Department and currently assigned to the
Criminal Investigations Division (CID) as an Economic Crimes Detective. I have been employed
in a law enforcement capacity since April 2011, with the past three years assigned to CID. I have
been dually sworn as a Task Force Officer (TFO) with the United States Secret Service (USSS)
since January 2019 and assigned to the South Florida Organized Fraud Task Force of the Miami
Field Office. I have been trained to conduct criminal investigations involving or relating to the
financial infrastructure of the United States, including identity theft, counterfeit United States
currency, wire fraud and access device fraud. I have completed the Basic Recruit Certificate of
Compliance for Law Enforcement Officers at the Institute of Public Safety, Davie, FL.

2. The facts in this affidavit come from my personal observations, my training and
experience, review of police reports, and information obtained from other law enforcement officers
and witnesses. Because this affidavit is provided for the limited purpose of establishing probable
cause for the requested search warrant, this affidavit does not set forth ever fact known to me
regarding this investigation.

PURPOSE OF THE AFFIDAVIT

3. This affidavit is submitted for the limited purpose of establishing probable cause to
support the charges set forth in the attached complaint. Your affiant submits, based on the facts
set forth below, that there is probable cause to arrest IAN AKIM FELDER, for violation of the

following offenses:

e Between December 1, 2017 and December 1, 2018, in Palm Beach County, Florida,
and elsewhere, the defendant, IAN AKIM FELDER, did knowingly and with intent to
defraud use one or more unauthorized access devices during a one year period, and by
such conduct, obtain anything of value aggregating $1,000 or more during that period,
said conduct affecting interstate and foreign commerce, in violation of Title 18, Unite
States Code, Section 1029(a)(2) and 2.

e On December 27, 2017, March 21, 2018, and March 28, 2018, in Palm Beach County,
Florida, the defendant, IAN AKIM FELDER, did knowingly execute a scheme or
artifice to obtain any of the moneys, funds, and credits, owned by, or under the custody
or control of, a financial institution by means ‘of false or fraudulent pretenses,
representations, or promises, in violation of Title 18, United States Code, Sections 1344
and 2.

e On December 27, 2017, March 21, 2018, and March 28, 2018, in Palm Beach County,
Florida, the defendant, IAN AKIM FELDER, did, during and in relation to an
Case 9:20-mj-08070-BER Document 1 Entered on FLSD Docket 02/14/2020 Page 3 of 11

enumerated felony, knowingly use, without lawful authority, a means of identification
"of another person, in violation of Title 18, United States Code, Sections 1028A and 2.

THE GENERAL SCHEME

4, Your affiant is a member of an investigative task force investigating an ongoing
bank fraud scheme targeting elder victims living in South Florida. Based upon victim interviews
and contact with the affected financial institutions, this section provides a general overview of how
the fraud scheme generally works.

5. In general, each individual victim is telephonically contacted by a professional
sounding caller. To your affiant’s knowledge, the caller is always a female. That caller states that.
she is a bank representative from the victim’s bank. The caller tells the victim, falsely, that the _
victim’s account has been compromised.

6. The bank and account type vary with each victim, but in general the caller is
attempting to get access to the victim’s credit and debit cards. According to the victims, the caller
supplies banking information regarding the victim’s account that convinces each victim that the
call is legitimate. For example, multiple victims have stated that the caller had their last
transaction information. The caller will then include some fictitious transaction descriptions with
the legitimate transaction descriptions, which then convinces the individual victim that their
account or bank card has been compromised.

7. The caller then offers to send a “bank representative” to the victim’s home to
exchange the “compromised” card with a new one. The victims report a “bank representative”
arrives at their residence shortly thereafter, usually while the victim is still on the phone with the
original caller. The “bank representative” then obtains the victims “compromised” debit and/or
credit card(s) with the promise of returning with a new uncompromised card. Usually the caller
has already convinced the individual victim into “verifying” his or her PIN number.! After the
“bank representative” leaves with the compromised cards, that representative and another
coconspirator then spend money as quickly as possible, often withdrawing cash from ATMs,
purchasing money orders from Publix, and otherwise using the accounts as quickly as possible.
Surveillance video obtained from the various stores and ATMs show that the suspects utilizing the
cards are often speaking on the telephone with an unknown person while at the Publix/Store or
bank ATM machine.

8. This fraud scheme has been ongoing since at least 2016 and continues through the
present. Law enforcement and financial institutions have identified over 200 individual victims
identified in Broward, Palm Beach, St. Lucie, Indian River, and elsewhere. Most of the victims
are elderly and: living in retirement communities. The financial institutions report more than
$1,000,000 financial loss. While some arrests of persons’ responsible for using the cards have

 

1 Some victims have denied providing their PIN numbers. It is unclear at this time, whether the subjects obtain the PIN through
other means, whether the victims are mistaken, or if the subjects then use those cards for only transaction that will not require
entry of a PIN.
Case 9:20-mj-08070-BER Document 1 Entered on FLSD Docket 02/14/2020 Page 4 of 11

been made by local police departments, the group tends to move operations to different counties
when one area becomes too hot.

9. The person calling the banks is believed to be the same person. That person will
use different phones to call the victims and the banking institutions. On occasion, the person has
been recorded pretending to be various victims in an effort to have the bank raise spending limits,
approve transactions, or provide other information in furtherance of the fraud scheme. That person
is also believed to switch phones frequently and use prepaid phones and/or fictitious subscriber
information to make detection and collection of evidence by law enforcement more difficult.

TAN FELDER’S ROLE IN THE SCHEME

10. Your affiant knows through participation on the task force that, to date, FELDER
has been identified as a participant in at least six incidents. Three of those incidents are described
in more detail below. In each of these three cases, FELDER participated as the driver, responsible
for withdrawing money and purchasing money orders with the stolen debit and credit cards.

A. December 27, 2017 — Victim “E.B.” in Boynton Beach, Florida.

11. =‘ The victim, “E.B.” reports receiving a telephone call on December 27, 2017. The
caller identified herself as "Melanie Baker" and claimed she worked for the Wells Fargo Bank .
Fraud Department. Melanie informed E.B. that she noticed-several suspicious transactions from
E.B.’s Wells Fargo account and would no longer be able to use the cards because they were
compromised. E.B. stated that Melanie asked him numerous questions concerning his account -
information. Melanie informed E.B. a representative would need to come to his Boynton Beach
residence in order to retrieve the compromised debit and credit cards.

12. EB. advised that a female “bank representative” arrived at E.B.’s residence shortly
after the call commenced with Melanie: The representative collected E.B.'s credit and debit card
and informed him that she would return with new cards. The fake bank representative left and did
not return. E.B. stated Melanie remained on the phone with him until the bank representative left
E.B.’s residence.

13. EB. later reviewed his Wells Fargo transaction history and identified the
following fraudulent charges made using E.B.’s credit and debit accounts. The following
fraudulent charges were identified by Wells Fargo Bank and E.B. *

 

 

No. Date App. Time Amount Location
(PST)
1. 27Decl7 10:58 a.m. $2000 ATM located at 10845 South Jog Road,
Boynton Beach, Florida

 

 

 

 

 

 

 

 

2 The times logged below by Wells Fargo Bank, which is headquartered in California, are Pacific
Standard Time which is 3 hours later than the time in Boynton Beach. For example, 7:00 p.m. in
California is 10:00 p.m. in Florida.
Case 9:20-mj-08070-BER Document 1 Entered on FLSD Docket 02/14/2020 Page 5 of 11.

 

2: 27Dec17 | 2:37 p.m. $1,000.78 Publix Store located at 6627 W.
Boynton Beach Blvd., Boynton, Beach,
Florida

 

3. 27Dec27 | 3:31 p.m. $1,001.78 | Publix Store located at 1337 S Military
Tr. Deerfield Beach, Florida

 

4. '27Dec27 | 5:08 p.m. $1,001.78 Publix Store located at 4121 West
Commercial Blvd., Tamarac, Florida

 

5. ~ | 27Dec27 | 5:25 p.m. $1,001.78 Publix located at 1297 S. State Road 7,
North Lauderdale, Florida

 

6. 27Dec27 | 5:47 p.m. $981.78 Publix located at 7230 W. Atlantic
Blvd., Margate, Florida

 

 

 

 

 

 

 

14. Wells Fargo security provided video stills of the ATM transaction that occurred at
_ 1:58PM (EST) at the branch located at 10845 South J og Road, Boynton Beach. (Transaction #1°
above). The suspect is a black male who is bald and is wearing glasses. The male is also holding
a cellphone during the transaction. ,

15. | FELDER was identified as a suspect in the above transactions. On August 18,
2018, a Palm Beach County Sheriff's Office (PBSO) detective interviewed FELDER with the
ATM video stills from transaction #1 above. In a recorded post-Miranda interview, FELDER
admitted he was the person in the photograph. FELDER also admitted he was a person using the
ATM of another victim when shown a photograph from that transaction, FELDER initially said
he was making the withdrawal to pay bills, but later indicated that he had a drug problem and that
a woman known to him as “black girl” would pull up to him in Riviera Beach and ask him to get
in the vehicle. FELDER said the female would show up in different vehicles and ask him to make
ATM withdrawals for her because she was having issues with her boyfriend. The female gave him
the bank cards and Atm. FELDER initially said he didn’t keep any money but later said he would
get some money for making withdrawals. FELDER admitted looking at his phone in one
photograph to get the PIN. FELDER admitted doing this three or four times. FELDER denied
having any way to contact “black girl,” who would just pull up to pick him up in different vehicles
which he believed were rentals. ,

16. | The PBSO detective is family with FELDER’s appearance from interacting with
him and has also verified that the person depicted in the ATM video stills is FELDER.

17. The total loss to Wells Fargo bank is $6,988.90. Wells Fargo does business in
multiple states and is headquartered in San Francisco, California. The card that was used above
to make the transactions was issued in the victim’s name. Wells Fargo is a FDIC-insured bank.
Case 9:20-mj-08070-BER Document 1 Entered on FLSD Docket 02/14/2020 Page 6 of 11

B. March 21, 2018 — Victim “M.L.” in Lantana, Florida.

18. The victim, “M.L.,” reports receiving a call on her house phone in Lantana, Florida.
The female call advised “M.L.” that “M.L.” had multiple fraudulent transactions on her Wells
Fargo and Chase bank accounts. M.L. stated that the female on the phone knew all of her account
numbers, home address, and her personal information. M.L. stated that at one point the female
advised M.L. that she was going to send someone over to M.L.’s residence to collect M.L.’s
credit/debit cards and properly dispose of them.

19, MLL. stated that a black female came to M.L.’s front door. The female advised
MLL. that she was there to pick up the credit/debit cards. The female stated that she was sent to
M.L.’s house by the female caller.and that she worked for the bank. M.L. gave the female her
Wells Fargo Credit Card, Wells Fargo Debit card, and her JP Morgan Chase Bank debit card. After
providing the cards, M.L. grew suspicious. M.L. called M.L.’s daughter, who assisted M.L. by
calling JP Morgan Chase Bank and Wells Fargo bank. By that time, it was too late and the
following fraudulent transactions were made on M.L.’s Wells Fargo and JP Morgan Chase Bank
accounts.

Chase (Debit/ATM Card ending in #1960)

 

 

No. Date App. Time Amount Location —
(EST)
1. 21Mar18 | 2:41 p.m. $1,700 ATM at JP Morgan Chase, 1330 W.
Lantana Road, Lantana, Florida 33462

 

 

 

 

 

 

 

20. The bank provided photographs of the transaction above, which occurred inside
Chase bank. The photographs are high quality and FELDER is visible, wearing glasses, a white
shirt, and a towel around his neck. The PBSO detective that interviewed FELDER on August 18,
2018, has confirmed that the person in the photograph is FELDER.

’ Wells Fargo (Debit and Credit Accounts)

21. M.L.’s bank records show that after she provided her Wells Fargo credit and debit
cards to the female, unauthorized transactions were place on her accounts. First, as an initial
matter, on March 21, 2018, $6000 was charged on M.L.’s credit card account (#9163) and
transferred to her Wells Fargo Checking account. M.L.’s debit card (ending in #8365) was then
used to make withdrawals/purchases from that checking account. The following two transactions
were made with M.L.’s debit card:
Case 9:20-mj-08070-BER Document 1 Entered on FLSD Docket 02/14/2020 Page 7 of 11

 

 

No. Date | App. Time Amount Location
(EST) ;
1. 21Mar2018 | 2:55p.m. ~- | $2000 ATM at.1500 W. Lantana Road

Lantana, Florida

 

2. 21Mar2018 | -- $1,452.67 Publix, 1589 W. Lantana Road
Lantana, Florida

 

 

 

 

 

 

 

22. Wells Fargo provided video stills of the $2000 ATM transaction. This ATM was
located outside and, while the photographs are not as clear as the Chase bank photographs, the
photographs are sufficient to show that the person making the withdrawals is the same person
(FELDER) who is making the withdrawals from JP Morgan Chase on the same date. The physical
appearance is consistent, FELDER is wearing the same white shirt, glasses, and glasses. He also
has the same towel around his neck.

23. This case was investigated by an officer with the Lantana Police Department. : The
Lantana officer later became aware, in 2019, that this individual case was part of a larger
conspiracy. Through contact with the PBSO detective, the Lantana officer learned FELDER’s
identity. On July 1, 2019, the Lantana officer went to the Palm Beach County jail where
FELDER was being held on Palm Beach County State charges related to his involvement with a
different victim in Palm Beach county. The Lantana detective interviewed FELDER, who in a
post-Miranda statement, admitted the person in the ATM photographs described above in this

. Section were him. FELDER stated the cards and pin numbers were provided by a woman he
knows from the corner. FELDER said she drove him to different ATM locations, where he made
withdrawals, and then gave her money. FELDER admitted getting paid. The detective _
subsequently filed another state case which is pending.

24. The total loss to both banks was $5,152. Both banks do business in multiple
states and are headquartered outside the State of Florida. Each of the ATM cards and the credit
card were all issued in M.L.’s name. J.P. Morgan Chase and Wells Fargo are each FDIC-insured
banks. °

A. March 28, 2018 — Victim “F.F.” in Boynton Beach, Florida.

25. Victim, “F.F.” reported receiving a telephone call on her Boynton Beach home
telephone on March 28, 2018. F.F. says the female caller identified herself as “Melanie Baker”
with the Chase Bank fraud department. Melanie asked the F.F’. questions regarding her credit cards
and personal information which F.F. provided. A black female who identified herself as “Marsha
Brooks” came to residence and collected credit/debit cards. The victim said when her husband
came home, they called Chase Bank and found out it was a scam.
Case 9:20-mj-08070-BER Document 1 Entered on FLSD Docket 02/14/2020 Page 8 of 11 —

26. Following a review of her bank statement, F.F. identified he following fraudulent
charges that were made using her debit card ending in 7793.

 

 

No. Date App. Time Amount Location
1. 18Mar2018 ~~ $2,640 JP Morgan Chase Bank located at
5000 W. Boynton Beach Blvd.,
Boynton Beach, Florida

 

 

 

 

 

 

 

27. | JP Morgan Chase provided video stills that show a black male, bald with glasses
conducting the transaction. The male is wearing glasses, a white metal bracelet, a brown towel
around his neck, and a dark colored shirt. The PBSO detective who interviewed FELDER has
identified the person in the video stills as FELDER.

28. JP Morgan Chase Bank suffered a financial loss of $2,640. This bank is
headquartered outside the State of Florida and does business in multiple states. The debit card

used to make the transaction is issued in victim F.F.’s name. JP Morgan Chase is a FDIC-insured
bank.

OTHER EVIDENCE

29. In addition to the cases above, FELDER was identified as a participant in another
incident on March 12, 2018, involving victim, J.B., an elderly victim who has since died. Like the
others above, J.B. had reported receiving a phone call from a female caller representing herself as
a Bank of America employee. The victim, who was 91, had difficulty remember the incident but
stated a white female came to his residence to retrieve the cards. Multiple ATM transactions and
money order purchases were then made using the victim’s debit account on March 12, 2018.
Subsequent video footage from a Publix where Western Money Orders were purchases and an
ATM where a withdrawal was made were collected by a Palm Beach County detective. FELDER, ~
wearing the same glasses and a brown towel around his next is captured making withdrawals on
an ATM machine. FELDER is also captured, albeit in a fuzzier picture, using the victim’s debit
card at Publix to purchase Western Union money orders. In the fuzzier images, while his face is
Case 9:20-mj-08070-BER Document 1 Entered on FLSD Docket 02/14/2020 Page 9 of 11

not as clear, FELDER is wearing a white shirt, dark colored ball cap, and has a brown towel around
his neck. The total loss to Bank of America in this instance was $5,390.

YOUR AFFIANT SAYETH FURTHER NAUGHT.

Task Force Officer, United States Secret Service

 

Sworn to before me in West Palm Beach, Florida
on December /Y% , 2019.

    

. BRUCE E. REINHART
UNITED STATES MAGISTRATE JUDGE - SDFL
Case 9:20-mj-08070-BER Document 1 Entered on FLSD Docket 02/14/2020 Page 10 of 11
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA -
PENALTY SHEET
Defendant’s Name: Jan A. Felder

Case No: 20-8070-BER.

 

Count 1:
Access Device Fraud

 

Title 18, United States Code, Section 1029(a)(2)

 

* Max. Penalty: 10 years’ imprisonment, followed by up to 3 years’ supervised
release, a maximum $250,000 fine, and a $100 special assessment.

 

Count 2 - 4:
Bank Fraud

 

Title 18, United States Code, Section: 1344

 

f ‘

 

* Max. Penalty: 30 years’ imprisonment, followed by up to 5 years’ supervised r
release, a maximum $1,000,000 fine, and a $100 special
assessment.

Count 5 - 7:

Aggravated Identify Theft
Title 18, United States Code, Section 1028A |
* Max. Penalty: Mandatory 2-year consecutive sentence, followed by 1 year

supervised release, a maximum fine of $250,000, and a $100
special assessment

 

Count :

 

 

* Max. Penalty:

 

Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.

4
Case 9:20-mj-08070-BER Document 1 Entered on FLSD Docket 02/14/2020 Page 11 of 11

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 20-8070-BER
UNITED STATES OF AMERICA

vs.

 

 

IAN AKIM FELDER,
Defendant.
/
CRIMINAL COVER SHEET
1, Did this matter originate from a matter pending in the United States Attorney’s Office prior
to August 9, 2013 (Mag. Judge Alicia Valle)? Yes xX No
“2. Did this matter originate from a matter pending in the Northern Region of the United

States Attorney’s Office prior to August 8, 2014 (Mag. Judge Shaniek Maynard)?
Yes xX No

Respectfully submitted, .

ARIANA FAJARDO ORSHAN
UNITED STATES ATTORNEY

BY:

 

’ASSISTA&T UNITED STATES ATTORNEY
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